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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF VERMONT                     t01~ J"N \ i W z~ tl
 UNITED STATES OF AMERICA                                                         CLERK

            V.                                           Docket No. 2:22~1-.ul          ~ CLEt'()
 DEYQUAN MARTIN,                                                   ;.: d-;).-GV·.; \ 14
     Defendant.


                 MOTION TO SEAL EXHIBIT TO NOTICE OF FILING
                         VICTIM IMPACT STATEMENT

       The United States of America, by and through Nikolas P. Kerest, United States Attorney

for the District of Vermont, hereby moves the Court to seal the exhibit to the Government's

Notice of Filing Victim Impact Statement. The victim impact statement contains personal

information about Minor Victim #1 (MVI), as identified in the Presentence Investigation

Report (PSR). Pursuant to 18 U.S.C. § 3509(d)(2), child victims have a right to have their "name

... or any other information concerning" them to be protected from public disclosure.

       WHEREFORE, the United States respectfully requests that the Court grant this motion to

seal the exhibit to the Government's Notice of Filing Victim Impact Statement.

                  Dated at Burlington, Vermont, this 18th day of January, 2024.

                                                    Respectfully submitted,

                                                    NIKOLAS P. KEREST
                                                    United States Attorney

                                             By:
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